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 8                          UNITED STATES DISTRICT COURT
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                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
10
                                SOUTHERN DIVISION
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12
     UNITED STATES OF AMERICA,           ) NO. SACR 15-00148-JLS
13                                       )
                Plaintiff,               )
14                                       ) PERSONAL MONEY JUDGMENT OF
         vs.                             ) FORFEITURE
15                                       )
     PHILIP A. SOBOL,                    )
16                                       )
               Defendant.                )
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 1        Pursuant to the Stipulation and Request of the parties, and
 2   good cause appearing, the Court hereby finds and orders as
 3   follows:
 4        1.      On November 24, 2015, Defendant Philip A. Sobol
 5   (“Defendant Sobol”) entered into an agreement to plead guilty to
 6   a two-count information that charged him with Conspiracy in
 7   violation of 18 U.S.C. § 371, and Interstate Travel in Aid of a
 8   Racketeering Enterprise in violation of 18 U.S.C. § 1952.
 9   Defendant Sobol further agreed to forfeit the sum of
10   $5,200,000.00 (the “Subject Asset”), which he admitted
11   represented proceeds he obtained as a result of the offenses to
12   which he entered the guilty plea.
13        2.      Defendant Sobol has stipulated to the entry of this
14   Personal Money Judgment of Forfeiture (the “Money Judgment”) in
15   the amount of $2,000,000.00.
16        3.      The entry of this Money Judgment is specifically
17   authorized by Rule 32.2 of the Federal Rules of Criminal
18   Procedure.    Rule 32.2(c)(1) provides that “no ancillary
19   proceeding is required to the extent that the forfeiture
20   consists of a money judgment.”
21        4.      Pursuant to the stipulation, Defendant Sobol expressly
22   waived the requirements of Federal Rules of Criminal Procedure
23   32.2. and 43(a) regarding notice of forfeiture in the charging
24   instrument, pronouncement of forfeiture at sentencing, and
25   incorporation of forfeiture in the Money Judgment.          The Money
26   Judgment shall be final as to Defendant Sobol upon entry.
27        5.      This Money Judgment is part of the sentence imposed on
28   Defendant Sobol in this case.

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 1        6.   A money judgment in the amount of $2,000,000.00 is
 2   HEREBY ENTERED in favor of the United States of America and
 3   against Defendant Philip A. Sobol.
 4        7.   This Court shall retain jurisdiction for the purpose
 5   of enforcing this Money Judgment.
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 7   DATED: January 16, 2018
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 9                                     HON. JOSEPHINE L. STATON
                                       UNITED STATES DISTRICT JUDGE
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